Case: 1:21-cv-00564-CAB Doc #: 13 Filed: 05/05/21 1 of 2. PagelD #: 125

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

UNITED STATES OF AMERICA, : CASE NO. 1:21-CV-00564
Plaintiff,
VS.
CLAIM (VERIFIED) OF JUSTIN
REAL PROPERTY LOCATED AT : BALAY

806 N. VISTA STREET, LOS ANGELES
CALIFORNIA, LOS ANGELES COUNTY
AIN 5526-005-024 -

Defendant.

JUSTEN BALAY
Claimant

 

Pursuant to Rule G(5)(a), Supplemental Rules for Certain Admiralty and Maritime Claims,
claimant, Justen Balay, hereby demands restitution of Real Property Located at 806 North Vista
Street, Los Angeles, California, Los Angeles County AIN 5526-005-024 and claims the right to
defend this action.

Claimant’s status is that of lawful owner and possessor of the claimed defendant property.

I declare under penalty of perjury under the laws of United States, that the foregoing is true

and correct.

DATE: April 19, 2021 Ye
JUSTEN YALAY a iY
Case: 1:21-cv-00564-CAB Doc #: 13 Filed: 05/05/21 2 of 2. PagelD #: 126

Attorney Victor Sherman is duly authorized to make this Claim.

DATED: May 5, 2021 LAW OFFICES OF VICTOR SHERMAN
/s__ Victor Sherman
VICTOR SHERMAN (SBN 38483)
11400 W Olympic Blvd, Ste 1500
Los Angeles, CA 90064-1543
Tel.: (424) 371-5930; Fax: (310) 392-9029
E-mail: victor@victorsherman.law
ATTORNEY FOR DEFENDANT,
JUSTEN BALAY

CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing Claim (Verified) of Justen Balay was
served this 5"" day of May, 2021, electronically on: Henry F. DeBaggis, Assistant United

States Attorney.

/s Victor Sherman

VICTOR SHERMAN (SBN 38483)
ATTORNEY FOR DEFENDANT,
JUSTEN BALAY
